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14                                 UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17

18
     STATE OF CALIFORNIA and GAVIN                ) Case No. 3:25-cv-03372-JSC
19   NEWSOM, in his official capacity as Governor )
     of California,                               ) STATEMENT OF RECENT DECISIONS
20                                                )
             Plaintiffs,                          )
21                                                )
         v.                                       )
22                                                )
     DONALD J. TRUMP, et al.,                     )
23                                                )
             Defendants.                          )
24                                                )
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     STATEMENT OF RECENT DECISIONS
     No. 3:25-cv-03372-JSC                        1
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 1          Pursuant to Civil Local Rule 7-3(d)(2), Defendants respectfully submit the attached decisions of

 2 the U.S. District Court for the Northern District of Florida transferring a civil action challenging the

 3 President’s imposition of tariffs under the International Emergency Economic Powers Act to the U.S.

 4 Court of International Trade under 28 U.S.C. § 1631 and denying a motion for a stay pending appeal.

 5 Emily Ley Paper, Inc. v. Trump, No. 3:25-cv-464, ECF Nos. 37 and 39 (N.D. Fla.).

 6 DATED: May 21, 2025                                    Respectfully submitted,

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     STATEMENT OF RECENT DECISIONS
     No. 3:25-cv-03372-JSC                            2
